




Affirmed and Memorandum Opinion filed June 18, 2009








Affirmed
and Memorandum Opinion filed June 18, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00197-CR

____________

&nbsp;

FELIPE LOYA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 351st District
Court

Harris County, Texas

Trial Court Cause No.
909057

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
was convicted of the offense of sexual assault on February 12, 2009, and was
sentenced to confinement for eight years in the Institutional Division of the
Texas Department of Criminal Justice.&nbsp; Appellant filed a timely notice of
appeal.

On May
7, 2009, this court ordered a hearing to determine why appellant had not filed
a brief in this appeal.&nbsp; On May 28, 2009, the trial court conducted the
hearing.&nbsp; The record of the hearing was filed in this court on May 28, 2009.








The
trial court found appellant no longer desires to prosecute his appeal.

On the
basis of this finding, this court has considered the appeal without briefs.&nbsp; See
Tex. R. App. P. 38.8(b).

Accordingly,
the judgment of the trial court is affirmed.

&nbsp;

PER
CURIAM

&nbsp;

&nbsp;

Panel consists of Justices Anderson,
Guzman, and Boyce.

Do not publish - Tex. R. App. P. 47.2(b).

&nbsp;

&nbsp;





